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     Federal Defender
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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          No. Cr. F 12-221 LJO

12                      Plaintiff,                      UNOPPOSED REQUEST TO EXTEND
                                                        DEADLINE FOR FILING RESPONSE;
13          v.                                          ORDER

14   JULIO CESAR VILLANUEVA-CORNEJO,

15                      Defendant.                      Judge: Honorable LAWRENCE J. O’NEILL

16          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
17   hereby requests that the deadline for filing a response to the Court’s November 25, 2014 order be
18   extended to January 26, 2015. The undersigned is awaiting responses from Mr. Villanueva-
19   Cornejo and the Probation Office. Counsel for the government, Assistant U.S. Attorney Kathleen
20   A. Servatius, graciously indicated that she has no objection.
21   Dated: December 17, 2014
22                                                        Respectfully submitted,
23                                                        HEATHER E. WILLIAMS
                                                          Federal Defender
24

25                                                        /s/ David M. Porter
                                                          DAVID M. PORTER
26                                                        Assistant Federal Defender
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 1                                              ORDER

 2          Pursuant to the unopposed request, and good cause appearing therefor, it is hereby ordered

 3   that the response to the Court’s order of November 25, 2014, may be filed on or before January

 4   26, 2015.

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     IT IS SO ORDERED.
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 7      Dated:    December 18, 2014                        /s/ Lawrence J. O’Neill
                                                        UNITED STATES DISTRICT JUDGE
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